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      JANET M. HEROLD                                                           JS-6
1     Regional Solicitor
      DANIEL J. CHASEK
2     Associate Regional Solicitor
3     NIAMH E. DOHERTY, Trial Attorney (CSBN #260749)
      Office of the Solicitor (SOL#1400021)
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5     Los Angeles, California 90071-1202
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6     Facsimile: (213) 894-2064
      doherty.niamh@dol.gov
7
      Attorneys for the Plaintiff
8
9                              UNITED STATES DISTRICT COURT
10                            CENTRAL DISTRICT OF CALIFORNIA
11
12    THOMAS E. PEREZ,                            ) No.: ED CV 13-02384-RGK (PLAx)
13      Secretary of Labor,                       )
        United States Department of Labor,        )
14                                                ) (PROPOSED)
                           Plaintiff,             )
15                   v.                           ) CONSENT JUDGMENT
                                                  )
16    NEW DISCOVERY RESIDENTIAL                   )
      SERVICES, INC. a California corporation do- )
17    ing business as NEW DISCOVERY               )
      RESIDENTIAL SERVICES; GEORGE                )
18    CLARDY, an individual and managing agent )
      of the corporate defendant,                 )
19                                                )
                           Defendants.            )
20                                                )
                                                  )
21                                                )
22
23          Plaintiff THOMAS E. PEREZ, Secretary of Labor, United States Department of
24    Labor (“Plaintiff” or “Secretary”) and defendants New Discovery Residential Services,
25    Inc., a California corporation doing business as New Discovery Residential Services
26    (“Corporate Defendant”), George Clardy, an individual and managing agent of the Cor-
27    porate Defendant (hereafter collectively referred to as the “Defendants”) (the Secretary
28

      CONSENT JUDGMENT                                                            Page 1 of 21
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1     and Defendants hereafter collectively referred to as the “Parties”) have agreed to resolve
2     the matters in controversy in this civil action and consent to the entry of this Consent
3     Judgment in accordance herewith:
4            A.    The Secretary has filed a Complaint alleging that Defendants violated pro-
5     visions of Sections 6, 7, 11(c), 15(a)(2) and 15(a)(5) of the Fair Labor Standards Act of
6     1938, as amended (“FLSA”), 29 U.S.C. §§ 206, 207, 211(c), 215(a)(2) and 215(a)(5).
7            B.    The Defendants are represented by counsel and acknowledge receipt of a
8     copy of the Secretary’s Complaint.
9            C.    The Defendants waive issuance and service of process. In lieu of answering
10    the Complaint and asserting any defenses thereto, the Defendants have agreed to the
11    terms of this Consent Judgment.
12           D.    The Secretary and Defendants waive Findings of Fact and Conclusions of
13    Law.
14           E.    The Defendants admit that the Court has jurisdiction over the Parties and
15    subject matter of this civil action and that venue lies in the Central District of California.
16           F.    The Parties agree to the entry of this Consent Judgment in settlement of this
17    action, without contest.
18           G.    Defendants acknowledge that Defendants and any individual or entity act-
19    ing on their behalf or at their direction (including but not limited to supervisors and/or
20    managers at Defendants’ residential care facilities) have notice of, and understand, the
21    provisions of this Consent Judgment.
22           H.    Defendants admit to violating Section 6 and 15(a)(2) of the FLSA during
23    the period of February 8, 2010 through February 7, 2013 (“Subject Period”) by paying
24    employees who were engaged in commerce or the production of goods for commerce,
25    within the meaning of the FLSA, or were employed in an enterprise engaged in com-
26    merce or in the production of goods for commerce, within the meaning of FLSA § 3(s),
27    wages at a rate less than $7.25 per hour (or at a rate less than such other applicable min-
28    imum rate as may hereafter be established by amendment to the FLSA).

      CONSENT JUDGMENT                                                                Page 2 of 21
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1           I.     Defendants admit to violating Sections 7 and 15(a)(2) of the FLSA during
2     the Subject Period by employing employees who were engaged in commerce or the pro-
3     duction of goods for commerce, or who were employed in an enterprise engaged in
4     commerce or in the production of goods for commerce within the meaning of the FLSA,
5     for workweeks longer than forty (40) hours, and by failing to pay such employees com-
6     pensation for their employment in excess of forty (40) hours at a rate not less than one
7     and one-half times the regular rate at which they were employed.
8           J. Defendants admit to violating Sections 11(c) and 15(a)(5) of the FLSA during
9     the Subject Period by failing to make, keep and preserve records of their employees and
10    of the wages, hours, and other conditions and practices of employment maintained by
11    them as prescribed by the regulations found in 29 C.F.R. Part 516 that are issued, and
12    from time to time amended, pursuant to Section 11(c) of the FLSA.
13          K.     Defendants understand and agree that demanding or accepting any of the
14    funds due employees under this Judgment or threatening any employee for accepting
15    money due under this Judgment or for exercising any of their rights under the FLSA is
16    specifically prohibited by this Judgment and may subject the Defendants to equitable
17    and legal damages, including punitive damages and civil contempt.
18          Therefore, upon motion of the attorneys for the Secretary, and for cause shown,
19          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Defend-
20    ants, their officers, managing agents, and employees and those persons in active concert
21    or participation with them who receive actual notice of this order (by personal service or
22    otherwise) be, and hereby are, permanently enjoined and restrained from violating the
23    provisions of the FLSA, 29 U.S.C. §§201, et seq., in any of the following manners:
24          1.     Defendants shall not, contrary to Sections 6 and 15(a)(2) of the FLSA, 29
25    U.S.C. §§ 206 and 215(a)(2), pay any employee who in any workweek is engaged in
26    commerce, within the meaning of the FLSA, or is employed in an enterprise engaged in
27    commerce or in the production of goods for commerce, within the meaning of the FLSA,
28    wages at a rate less than $7.25 per hour (or at a rate less than such other applicable min-

      CONSENT JUDGMENT                                                              Page 3 of 21
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1     imum rate as may hereafter be established by amendment to the FLSA).
2           2.     Defendants shall not, contrary to Sections 7 and 15(a)(2) of the FLSA, 29
3     U.S.C. §§ 207 and 215(a)(2), employ any employee who in any workweek is engaged in
4     commerce, within the meaning of the FLSA, or is employed in an enterprise engaged in
5     commerce or in the production of goods for commerce, within the meaning of the FLSA,
6     for any workweek longer than forty hours, unless such employee receives compensation
7     for his or her employment in excess of 40 hours in such workweek at a rate not less than
8     one and one-half times the regular rate at which he or she is employed.
9           3.     Defendants shall not fail to make, keep, preserve, and make available to au-
10    thorized agents of the Secretary for inspection, transcription, and/or copying, upon their
11    demand for such access, records of their employees and of the wages, hours, and other
12    conditions and practices of employment maintained by them, as prescribed by the regu-
13    lations issued, and/or amended, pursuant to Sections 11(c) and 15(a)(5) of the FLSA, 29
14    U.S.C. §§211(c) and 215(a)(5), and the implementing regulations found in Title 29,
15    Code of Federal Regulations, Part 516.
16          4.     Defendants, jointly and severally, shall not withhold payment of
17    $299,045.81, in gross unpaid back wages and overtime pay, plus an additional $1,497.29
18    in interest, for a total of $300,543.10, hereby found to be due under the FLSA to 17 em-
19    ployees, as a result of their employment by Defendants during the Subject Period, as set
20    forth in the attached Exhibit A, showing the name of each employee and listing on the
21    same line the gross back wage amount due the employee and the period covered by the
22    Consent Judgment.
23          5.     To accomplish the parties’ agreement as specified in Paragraph 4:
24          a.     On or before August 31, 2013, and continuing on the last day of each month
25    thereafter until July 2014, Defendants shall repay back wages, overtime pay and interest
26    to each person named in Exhibit A. Defendants shall repay such back wages, overtime
27    pay and interest according to the monthly installment schedule provided in the attached
28    Exhibit B. Defendants shall deliver separate checks or money orders to each person

      CONSENT JUDGMENT                                                             Page 4 of 21
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1     named in the attached Exhibit A, and such checks shall be made payable to the order of
2     the particular person and shall be in amounts listed in the installment amortization
3     schedule provided in the attached Exhibit C. Each repayment amount will be paid to the
4     particular person after the employer has made legal deductions (which deductions shall
5     be submitted by Defendants to the federal and state agencies entitled to them, when due
6     and no later than one year after submitting to the Secretary the last payment due hereun-
7     der) from the total gross amounts provided in the last column by his or her name in the
8     attached Exhibits A and C.
9            b.    On or before the last day of each month, until July 2014, Defendants shall
10    deliver to the Secretary’s representative, Wage and Hour Division, United States De-
11    partment of Labor (“U.S. Wage and Hour Division”), located at 100 N. Barranca Street,
12    Suite 850, West Covina, CA 91791, evidence of payment to each person named in the
13    attached Exhibit A of the amounts set forth in Paragraph 5, subpart (a), and pursuant to
14    the schedule in Exhibit C. Such evidence of payment shall include any and all signed
15    U.S. Wage and Hour Division Receipt for Payment of Back Wages, Employment Bene-
16    fits, or Other Compensation Form WH-58 receipt forms the Defendants have received at
17    that time.
18          c.     On or before September 28, 2014, Defendants shall provide U.S. Wage &
19    Hour Division with a listing of all unlocated employees, their last known address, social
20    security number (if possible), and their gross and net amounts due and any and all re-
21    maining signed Form WH-58 receipt forms not yet provided to U.S. Wage and Hour Di-
22    vision, or a cancelled check (or some reasonable facsimile) for every person listed on
23    Exhibit A that the Defendants have paid per the terms of this Consent Judgment, and
24    shall deliver to U.S. Wage and Hour Division a cashier’s or certified check, payable to
25    "Wage and Hour Division – U.S. Dept. of Labor" to cover the total gross and net
26    amounts due all such employees.
27          6.     In the event of a default in the timely making of any of the payments speci-
28    fied herein, the entire unpaid balance due under this Consent Judgment, plus post-

      CONSENT JUDGMENT                                                             Page 5 of 21
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1     judgment interest at the rate of one percent (1%) per year from the date of this Consent
2     Judgment until the amount of this Consent Judgment is paid in full, shall become imme-
3     diately due and payable directly to the U.S. Department of Labor by certified check to
4     the Wage and Hour Division upon the Secretary’s sending by ordinary mail a written
5     demand to the last business address of the Defendants then known to the Secretary. A
6     penalty at the rate of six percent (6%) per year will be assessed on any portion of the
7     debt remaining delinquent for more than 90 days.
8             IT IS FURTHER ORDERED that in the event that any employees cannot be lo-
9     cated, or refuse to accept the back wages, the Secretary shall allocate and distribute the
10    remittances received from the employer for such employees, to the persons named in the
11    attached Exhibit A, or to their estates if that be necessary, and any money not so paid
12    within a period of three years from the date of its receipt, because of an inability to lo-
13    cate the proper persons or because of their refusal to accept it, shall be deposited in the
14    United States Treasury, pursuant to 29 U.S.C. § 216(c).
15            7.   Defendants shall maintain their payroll practices to comply with the FLSA.
16    To accomplish the provisions of this paragraph:
17            a.   Defendants shall record all hours worked by employees in the payroll rec-
18    ords.
19            b.   Defendants shall maintain all required records of time worked and payroll
20    records for a period of not less than three (3) years.
21            c.   Defendants shall reflect all the amounts paid to employees, regardless of the
22    manner of payment, on the payroll records.
23            d.   Defendants shall keep and produce upon demand to the U.S. Wage and
24    Hour Division a copy of time and payroll records demonstrating that all persons em-
25    ployed by Defendants appear on such time and payroll records and that all employees
26    are paid proper minimum wage and overtime due under the FLSA, except for employees
27    who are or may be properly classified as exempt from the FLSA minimum wage and/or
28    overtime requirements.

      CONSENT JUDGMENT                                                                Page 6 of 21
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1            e.     Defendants shall within five (5) business day of execution of this Consent
2     Judgment distribute to all current employees, Exhibit D, attached hereto, which summa-
3     rizes the terms of this Judgment and the employees’ rights under the FLSA, and post a
4     copy in a prominent location at their establishments.
5            f.     Defendants shall continue to post at all of its business locations in a location
6     visible to employees (such as break rooms, rest areas or lunchrooms) U.S. Wage and
7     Hour Division’s WHD Publication 1088 posters in English, advising employees of their
8     employee rights under the FLSA.
9            g.     Defendants shall pay employees for all compensable waiting and travel
10    time, if any such waiting and travel time is required by the Defendants.
11           h.     Defendants shall not direct supervisors, managers or any payroll preparers
12    to falsify timecards in any manner including reducing the number of hours worked by
13    employees.
14           i.     Defendants shall not request, require or otherwise cause employees to sign
15    inaccurate timecards.
16           j.      Defendants shall not require employees to work “off the clock” either be-
17    fore or after their shift.
18           8.     Defendants, their officers, managing agents, and employees and those per-
19    sons in active concert or participation with them, shall not in any way directly or indi-
20    rectly, demand, require or accept any of the back wages from any of the employees
21    listed on the attached Exhibit A or from any friends of relatives of the employees. De-
22    fendants shall not threaten or imply that adverse action will be taken against any em-
23    ployee because of their receipt of funds due under this Consent Judgment. Defendants
24    understand and agree that demanding or accepting any of the funds required under this
25    Consent Judgment is specifically prohibited by this Consent Judgment. Violation of this
26    paragraph may subject Defendants to equitable and legal damages, including punitive
27    damages and civil contempt.
28

      CONSENT JUDGMENT                                                                Page 7 of 21
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1           9.     Defendants, their officers, agents, and employees and those persons in ac-
2     tive concert or participation with them, shall not in any way retaliate or take any adverse
3     employment action, or threaten or imply that adverse action will be taken against any
4     employee who exercises or asserts his or her rights under the FLSA or provides infor-
5     mation to any public agency investigating compliance with the FLSA. Violation of this
6     paragraph may subject Defendants to equitable and legal damages, including punitive
7     damages and civil contempt.
8           IT IS FURTHER ORDERED that the filing, pursuit, and/or resolution of this
9     proceeding with the entry of this Judgment shall not act as or be asserted as a bar to any
10    action under FLSA § 16(b), 29 U.S.C. § 216(b), as to any employee not named on the
11    attached Exhibit A nor as to any employee named on the attached Exhibit A for any pe-
12    riod not specified therein;
13          IT IS FURTHER ORDERED that each party shall bear its own fees and other
14    expenses incurred by such party in connection with any stage of this proceeding, includ-
15    ing but not limited to attorneys' fees, which may be available under the Equal Access to
16    Justice Act, as amended; and
17          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this ac-
18    tion for purposes of enforcing compliance with the terms of this Consent Judgment.
19
20
21
22    Dated: January 10, 2014
23                                             U.S. DISTRICT COURT JUDGE
24
25
26
27
28                                  [Signatures continue on next page]


      CONSENT JUDGMENT                                                              Page 8 of 21
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1     Each Defendant listed below hereby appears,
2     waives any defenses herein, consents to the
3     entry of this Judgment, and waives notice by
4     Clerk of the Court.
5
      For: NEW DISCOVERY RESIDENTIAL SERVICES, INC.,
6          A California corporation d/b/a
7          NEW DISCOVERY RESIDENTIAL SERVICES
8
9     By:    ______________________________                   __________________
10           George Clardy                                    Date
      Its:   CEO
11
12
      ______________________________                          __________________
13    GEORGE CLARDY                                           Date
14
15
      Attorney for Defendants:
16
17
      ______________________________                          __________________
18    Geoffrey H. Hopper                                      Date
19
20
      For the Plaintiff
21
      M. PATRICA SMITH
22    Solicitor of Labor
23
      JANET M. HEROLD
24    Regional Solicitor
25
      DANIEL J. CHASEK
26    Associate Regional Solicitor
27
28                               [Signatures continue on next page]

      CONSENT JUDGMENT                                                      Page 9 of 21
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1
      ____________________________                         _________________
2     NIAMH E. DOHERTY, Trial Attorney                     Date
3     Attorney for the Plaintiff
      Secretary of Labor
4     U.S. Department of Labor
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      CONSENT JUDGMENT                                                    Page 10 of 21
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1
2                                        EXHIBIT A

3
       First Name    Last Name      Violation Begin  Violation End     Total Due 
4                                   Date             Date 
5
6      Candice       Alva           09/13/2012       02/07/2013        $5,769.04        
       Michelle      Babcock        08/27/2012       12/24/2012        $4,662.37        
7      Elisa         Carr           01/06/2011       02/07/2013        $29,743.06        
8      Sharan        Duplessis      02/08/2011       06/22/2012        $19,719.46        
9      Maria         Flores         01/06/2011       02/07/2013        $31,247.44        
       Vivian        Francisco      01/13/2011       02/07/2013        $20,705.17        
10
       Keisha        Hardy          01/06/2011       02/07/2013        $30,913.33        
11     Dejeana       Henderson      01/06/2011       04/05/2012        $17,413.44        
12     Cynthia       Hill           01/13/2011       11/29/2012        $29,436.80        
       Keisha        Lively         01/06/2011       02/03/2011        $1,348.35          
13
       Francisca     Mathy          01/06/2011       02/07/2013        $29,984.23        
14     Mary          Murphy         01/06/2011       02/07/2013        $31,016.48        
15     Yolanda       Payne          01/01/2013       02/07/2013       $1,573.81          
16     Cynthia       Rodriguez      09/22/2011       04/11/2012        $8,907.08        
17     Emmylou       Valenzuela     4/12/2012        02/07/2013        $12,079.22 
       Njeri         Waldron        06/15/2012       02/07/2013        $8,649.12        
18
       Monica        Wilson         03/24/2011       03/08/2012        $17,374.70        
19
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                                                           Total:     $300,543.10
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      CONSENT JUDGMENT                                                       Page 11 of 21
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1                                        EXHIBIT B
2     Installment Schedule
3
4      Payment       Date Due        Amount Due       Interest Due    Total Due
       Number                        (Principal) 
5
6      1             8/31/2013       $27,072.90       $249.20         $27,322.10
7      2             9/30/2013       $27,095.46       $226.64         $27,322.10
       3             10/31/2013      $27,118.04       $204.06         $27,322.10
8      4             11/30/2013      $27,140.63       $181.47         $27,322.10
9      5             12/31/2013      $27,163.25       $158.85         $27,322.10
10     6             1/31/2014       $27,185.89       $136.21         $27,322.10
       7             2/28/2014       $27,208.54       $113.56         $27,322.10
11
       8             3/31/2014       $27,231.22       $90.88          $27,322.10
12     9             4/30/2014       $27,253.91       $68.19          $27,322.10
13     10            5/31/2014       $27,276.62       $45.48          $27,322.10
14     11            6/30/2014       $27,299.35       $22.75          $27,322.10
       TOTALS:                       $299,045.81      $1,497.29       $300,543.10
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      CONSENT JUDGMENT                                                    Page 12 of 21
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1                                        EXHIBIT C
2      
      Payment No. 1  
3
      Date Due:  08/31/2013
4       First Name       Last Name       Principal       Interest     Total 
5                                                                     Payment 
6
         Candice         Alva            $519.68         $4.78         $524.46        
7
         Michelle        Babcock         $419.98         $3.87        $423.85
8        Elisa           Carr            $2,679.25       $24.87       $2,703.91
9        Sharan          Duplessis       $1,776.33       $16.35       $1,792.68
         Maria           Flores          $2,814.77       $25.91       $2,840.68
10
         Vivian          Francisco       $1,865.12       $17.17       $1,882.29
11       Keisha          Hardy           $2,784.67       $25.63       $2,810.30         
12       Dejeana         Henderson       $1,568.60       $14.44       $1,583.04         
13       Cynthia         Hill            $2,651.66       $24.41       $2,676.07
         Keisha          Lively          $121.46         $1.12        $122.58
14       Francisca       Mathy           $2,700.98       $24.86       $2,725.84
15       Mary            Murphy          $2,793.96       $25.72       $2,819.68
16       Yolanda         Payne           $141.77         $1.30        $143.07
         Cynthia         Rodriguez       $802.35         $7.39        $809.74
17
         Emmylou         Valenzuela      $1,088.10       $10.02       $1,098.12
18       Njeri           Waldron         $779.11         $7.17        $786.28
19       Monica          Wilson          $1,565.11       $14.40       $1,579.51
20
21
      Payment No. 2  
22
      Date Due:  09/30/2013
23
        First Name       Last Name       Principal       Interest     Total 
24                                                                    Payment 
25
26       Candice         Alva            $520.11         $4.35         $524.46        
         Michelle        Babcock         $420.33         $3.52        $423.85
27       Elisa           Carr            $2,681.49       $22.43       $2,703.92
28       Sharan          Duplessis       $1,777.81       $14.87       $1,792.68

      CONSENT JUDGMENT                                                     Page 13 of 21
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1        Maria           Flores          $2,817.11       $23.56       $2,840.67
         Vivian          Francisco       $1,866.68       $15.61       $1,882.29
2
         Keisha          Hardy           $2,786.99       $23.31       $2,810.30         
3        Dejeana         Henderson       $1,569.91       $13.13       $1,583.04         
4        Cynthia         Hill            $2,653.87       $22.20       $2,676.07
         Keisha          Lively          $121.56         $1.02        $122.58
5
         Francisca       Mathy           $2,703.23       $22.61       $2,725.84
6        Mary            Murphy          $2,796.29       $23.39       $2,819.68
7        Yolanda         Payne           $141.89         $1.19        $143.08
8        Cynthia         Rodriguez       $803.02         $6.72        $809.74
         Emmylou         Valenzuela      $1,089.00       $9.11        $1,098.11
9
         Njeri           Waldron         $779.76         $6.52        $786.28
10       Monica          Wilson          $1,566.41       $13.10       $1,579.51
11
12
13    Payment No. 3  
14    Date Due:  10/31/2013
        First Name       Last Name       Principal       Interest     Total 
15
                                                                      Payment 
16
17       Candice         Alva            $520.54         $3.92         $524.46        
         Michelle        Babcock         $420.69         $3.17        $423.86
18
         Elisa           Carr            $2,683.72       $20.19       $2,703.91
19       Sharan          Duplessis       $1,779.29       $13.39       $1,792.68
20       Maria           Flores          $2,819.46       $21.22       $2,840.68
21       Vivian          Francisco       $1,868.23       $14.06       $1,882.29
         Keisha          Hardy           $2,789.31       $20.99       $2,810.30         
22       Dejeana         Henderson       $1,571.22       $11.82       $1,583.04         
23       Cynthia         Hill            $2,656.09       $19.99       $2,676.08
24       Keisha          Lively          $121.66         $0.92        $122.58
         Francisca       Mathy           $2,705.48       $20.36       $2,725.84
25
         Mary            Murphy          $2,798.62       $21.06       $2,819.68
26       Yolanda         Payne           $142.01         $1.07        $143.08
27       Cynthia         Rodriguez       $803.69         $6.05        $809.74
         Emmylou         Valenzuela      $1,089.91       $8.20        $1,098.11
28

      CONSENT JUDGMENT                                                     Page 14 of 21
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1        Njeri           Waldron         $780.41         $5.87        $786.28
         Monica          Wilson          $1,567.71       $11.78       $1,579.49
2
       
3     Payment No. 4  
4     Date Due:  11/30/2013
5       First Name       Last Name       Principal       Interest     Total 
                                                                      Payment 
6
7        Candice         Alva            $520.98         $3.48         $524.46        
8        Michelle        Babcock         $421.04         $2.82        $423.86
         Elisa           Carr            $2,685.96       $17.96       $2,703.92
9
         Sharan          Duplessis       $1,780.77       $11.91       $1,792.68
10       Maria           Flores          $2,821.81       $18.87       $2,840.68
11       Vivian          Francisco       $1,869.79       $12.50       $1,882.29
12       Keisha          Hardy           $2,791.64       $18.67       $2,810.31         
         Dejeana         Henderson       $1,572.53       $10.51       $1,583.04         
13       Cynthia         Hill            $2,658.30       $17.77       $2,676.07
14       Keisha          Lively          $121.76         $0.81        $122.57
15       Francisca       Mathy           $2,707.73       $18.10       $2,725.83
         Mary            Murphy          $2,800.95       $18.73       $2,819.68
16
         Yolanda         Payne           $142.12         $0.95        $143.07
17       Cynthia         Rodriguez       $804.35         $5.38        $809.73
18       Emmylou         Valenzuela      $1,090.82       $7.29        $1,098.11
19       Njeri           Waldron         $781.06         $5.22        $786.28
         Monica          Wilson          $1,569.02       $10.50       $1,579.52
20
21    Payment No. 5  
22    Date Due:  12/31/2013
23      First Name       Last Name       Principal       Interest     Total 
24                                                                    Payment 
25       Candice         Alva            $521.41         $3.05         $524.46        
26       Michelle        Babcock         $421.39         $2.46        $423.85
27       Elisa           Carr            $2,688.19       $15.72       $2,703.91
         Sharan          Duplessis       $1,782.26       $10.42       $1,792.68
28

      CONSENT JUDGMENT                                                     Page 15 of 21
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1        Maria           Flores          $2,824.16       $16.52       $2,840.68
         Vivian          Francisco       $1,871.35       $10.94       $1,882.29
2
         Keisha          Hardy           $2,793.96       $16.34       $2,810.30         
3        Dejeana         Henderson       $1,573.84       $9.20        $1,583.04         
4        Cynthia         Hill            $2,660.51       $15.56       $2,676.07
         Keisha          Lively          $121.86         $0.71        $122.57
5
         Francisca       Mathy           $2,709.99       $15.85       $2,725.84
6        Mary            Murphy          $2,803.29       $16.39       $2,819.68
7        Yolanda         Payne           $142.24         $0.83        $143.07
8        Cynthia         Rodriguez       $805.03         $4.71        $809.74
         Emmylou         Valenzuela      $1,091.73       $6.38        $1,098.11
9
         Njeri           Waldron         $781.71         $4.57        $786.28
10       Monica          Wilson          $1,570.33       $9.20        $1,579.53
11
12
13    Payment No. 6  
14    Date Due:  01/31/2014
        First Name       Last Name       Principal       Interest     Total 
15
                                                                      Payment 
16
17       Candice         Alva            $521.84         $2.61         $524.45        
         Michelle        Babcock         $421.74         $2.11        $423.85
18
         Elisa           Carr            $2,690.44       $13.48       $2,703.92
19       Sharan          Duplessis       $1,783.74       $8.94        $1,792.68
20       Maria           Flores          $2,826.51       $14.16       $2,840.67
21       Vivian          Francisco       $1,872.91       $9.38        $1,882.29
         Keisha          Hardy           $2,796.29       $14.01       $2,810.30         
22       Dejeana         Henderson       $1,575.15       $7.89        $1,583.04         
23       Cynthia         Hill            $2,662.73       $13.34       $2,676.07
24       Keisha          Lively          $121.97         $0.61        $122.58
         Francisca       Mathy           $2,712.25       $13.59       $2,725.84
25
         Mary            Murphy          $2,805.62       $14.06       $2,819.68
26       Yolanda         Payne           $142.36         $0.71        $143.07
27       Cynthia         Rodriguez       $805.70         $4.04        $809.74
         Emmylou         Valenzuela      $1,092.64       $5.47        $1,098.11
28

      CONSENT JUDGMENT                                                     Page 16 of 21
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1        Njeri           Waldron         $782.36         $3.92        $786.28
         Monica          Wilson          $1,571.64       $7.89        $1,579.53
2
3
4
      Payment No. 7  
5
      Date Due:  02/28/2014
6       First Name       Last Name       Principal       Interest     Total 
7                                                                     Payment 
8
         Candice         Alva            $522.28         $2.18         $524.46        
9        Michelle        Babcock         $422.09         $1.76        $423.85
10       Elisa           Carr            $2,692.68       $11.24       $2,703.92
         Sharan          Duplessis       $1,785.23       $7.45        $1,792.68
11
         Maria           Flores          $2,828.87       $11.81       $2,840.68
12       Vivian          Francisco       $1,874.47       $7.82        $1,882.29
13       Keisha          Hardy           $2,798.62       $11.68       $2,810.30         
14       Dejeana         Henderson       $1,576.46       $6.58        $1,583.04         
         Cynthia         Hill            $2,664.95       $11.12       $2,676.07
15
         Keisha          Lively          $122.07         $0.51        $122.58
16       Francisca       Mathy           $2,714.51       $11.33       $2,725.84
17       Mary            Murphy          $2,807.96       $11.72       $2,819.68
         Yolanda         Payne           $142.48         $0.59        $143.07
18
         Cynthia         Rodriguez       $806.37         $3.37        $809.74
19       Emmylou         Valenzuela      $1,093.55       $4.56        $1,098.11
20       Njeri           Waldron         $783.02         $3.27        $786.29
21       Monica          Wilson          $1,572.93       $6.57        $1,579.50

22
23
      Payment No. 8 
24
      Date Due: 03/31/2014
25      First Name      Last Name        Principal       Interest     Total 
26                                                                    Payment 
27
         Candice         Alva            $522.71         $1.74         $524.45  
28

      CONSENT JUDGMENT                                                     Page 17 of 21
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1        Michelle        Babcock         $422.44         $1.41        $423.85
         Elisa           Carr            $2,694.92       $8.99        $2,703.91
2
         Sharan          Duplessis       $1,786.72       $5.96        $1,792.68
3        Maria           Flores          $2,831.23       $9.45        $2,840.68
4        Vivian          Francisco       $1,876.03       $6.26        $1,882.29
         Keisha          Hardy           $2,800.95       $9.35        $2,810.30         
5
         Dejeana         Henderson       $1,577.77       $5.27        $1,583.04         
6        Cynthia         Hill            $2,667.17       $8.90        $2,676.07
7        Keisha          Lively          $122.17         $0.41        $122.58
8        Francisca       Mathy           $2,716.77       $9.07        $2,725.84
         Mary            Murphy          $2,810.30       $9.38        $2,819.68
9
         Yolanda         Payne           $142.60         $0.48        $143.08
10       Cynthia         Rodriguez       $807.04         $2.69        $809.73
11       Emmylou         Valenzuela      $1,094.46       $3.65        $1,098.11
         Njeri           Waldron         $783.67         $2.62        $786.29
12
         Monica          Wilson          $1,574.27       $5.25        $1,579.52
13
14     
15    Payment No. 9 
16    Date Due: 04/30/2014
17      First Name      Last Name        Principal       Interest     Total 
                                                                      Payment 
18
19       Candice         Alva            $523.15         $1.31         $524.46
20       Michelle        Babcock         $422.79         $1.06        $423.85
         Elisa           Carr            $2,697.17       $6.75        $2,703.92
21       Sharan          Duplessis       $1,788.21       $4.47        $1,792.68
22       Maria           Flores          $2,833.59       $7.09        $2,840.68
23       Vivian          Francisco       $1,877.59       $4.70        $1,882.29
         Keisha          Hardy           $2,803.29       $7.01        $2,810.30         
24
         Dejeana         Henderson       $1,579.09       $3.95        $1,583.04         
25       Cynthia         Hill            $2,669.39       $6.68        $2,676.07
26       Keisha          Lively          $122.27         $0.31        $122.58
         Francisca       Mathy           $2,719.04       $6.80        $2,725.84
27
         Mary            Murphy          $2,812.64       $7.04        $2,819.68
28

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1        Yolanda         Payne           $142.72         $0.36        $143.08
         Cynthia         Rodriguez       $807.71         $2.02        $809.73
2
         Emmylou         Valenzuela      $1,095.37       $2.74        $1,098.11
3        Njeri           Waldron         $784.32         $1.96        $786.28
4        Monica          Wilson          $1,575.57       $3.94        $1,579.51
5
6
      Payment No. 10 
7
      Date Due: 5/31/2014
8
        First Name      Last Name        Principal       Interest     Total 
9                                                                     Payment 
10
         Candice         Alva            $523.59         $0.87         $524.46
11
         Michelle        Babcock         $423.15         $0.71        $423.86
12       Elisa           Carr            $2,699.41       $4.50        $2,703.91
13       Sharan          Duplessis       $1,789.70       $2.98        $1,792.68
14       Maria           Flores          $2,835.95       $4.73        $2,840.68
         Vivian          Francisco       $1,879.16       $3.13        $1,882.29
15
         Keisha          Hardy           $2,805.62       $4.68        $2,810.30         
16       Dejeana         Henderson       $1,580.41       $2.64        $1,583.05         
17       Cynthia         Hill            $2,671.62       $4.45        $2,676.07
         Keisha          Lively          $122.37         $0.20        $122.57
18
         Francisca       Mathy           $2,721.30       $4.54        $2,725.84
19       Mary            Murphy          $2,814.99       $4.69        $2,819.68
20       Yolanda         Payne           $142.84         $0.24        $143.08
21       Cynthia         Rodriguez       $808.39         $1.35        $809.74
         Emmylou         Valenzuela      $1,096.28       $1.83        $1,098.11
22       Njeri           Waldron         $784.98         $1.31        $786.29
23       Monica          Wilson          $1,576.86       $2.63        $1,579.49
24
25
26    Payment No. 11 
27    Date Due: 06/30/2014
28

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1        First Name      Last Name       Principal       Interest     Total 
                                                                      Payment 
2
3        Candice         Alva            $524.02         $0.44         $524.46  
4        Michelle        Babcock         $423.49         $0.35        $423.84
         Elisa           Carr            $2,701.66       $2.25        $2,703.91
5
         Sharan          Duplessis       $1,791.17       $1.49        $1,792.68
6        Maria           Flores          $2,838.29       $2.37        $2,840.66
7        Vivian          Francisco       $1,880.70       $1.57        $1,882.27
         Keisha          Hardy           $2,807.98       $2.34        $2,810.32         
8
         Dejeana         Henderson       $1,581.71       $1.32        $1,583.03         
9        Cynthia         Hill            $2,673.86       $2.23        $2,676.09
10       Keisha          Lively          $122.48         $0.10        $122.58
11       Francisca       Mathy           $2,723.57       $2.27        $2,725.84
         Mary            Murphy          $2,817.33       $2.35        $2,819.68
12
         Yolanda         Payne           $142.94         $0.12        $143.06
13       Cynthia         Rodriguez       $809.04         $0.67        $809.71
14       Emmylou         Valenzuela      $1,097.20       $0.91        $1,098.11
         Njeri           Waldron         $785.64         $0.65        $786.29
15
         Monica          Wilson          $1,578.27       $1.32        $1,579.59
16
17
18
                        TOTAL:           $299,045.81    $1,497.29    $300,543.10
19
20
21
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      CONSENT JUDGMENT                                                     Page 20 of 21
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1                                           EXHIBIT D
2                           LEGAL NOTICE TO ALL EMPLOYEES
3
4           The Fair Labor Standards Act (“FLSA”) requires that all employees must be
5     paid minimum wage for all hours worked. Employees must be paid overtime, at a rate
6     of time and one half their regular rate, for the hours they work over 40 in a workweek.
7     Employees are entitled to overtime when they work over 40 hours.
8           The United States Department of Labor conducted an investigation of NEW
9     DISCOVERY RESIDENTIAL SERVICES (“New Discovery”) and has determined
10    that some persons who work here were not paid the federal minimum wage, and/or over-
11    time wages for hours they worked over 40 hours in a workweek. Some New Discovery
12
      employees had fluctuating schedules and were designated “alternative workweek em-
13
      ployees” and paid a salary which did not comply with federal wage laws.
14
            The Department of Labor has reached a settlement with New Discovery. As part
15
      of this settlement, New Discovery has agreed to pay unpaid back wages owed to some
16
      employees. New Discovery will distribute these checks to the employees who are owed
17
      money. If you receive a check, please note that nobody from the company can ask
18
      you for this money back, and no employee must return this money back.
19
20          Your employer wants you to know that it is committed to ensuring that all em-

21    ployees are paid minimum wage and overtime when it is due and is committed to fully

22    complying with all laws enforced by the Department of Labor. If you are not paid min-
23    imum wage or overtime, or if anybody associated with this employer tells you to return
24    your wages, please call the U.S. Department of Labor at (602) 514-7100, or (866) 4-
25    USWAGE, (866) 487-9243. You may also contact the Department of Labor if you have
26    any questions about your employment rights, such as your rights to minimum wage and
27    overtime wages. Your name will be kept confidential.
28

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